OAO 247 (NC/W 03/08) Order Regarding Motion for Sentence Reduction


                                    UNITED STATES DISTRICT COURT
                                                                     for the
                                                      Western District of North Carolina

                   United States of America                            )
                              v.                                       )
                                                                       )   Case No: 3:02CR00161-001
               DECARLO LAMONT W HITLEY
                                                                       )   USM No: 15067-058
Date of Previous Judgment: 12/18/2003                                  )   Randolph Lee
(Use Date of Last Amended Judgment if Applicable)                      )   Defendant’s Attorney

                  Order Regarding Motion for Sentence Reduction Pursuant to 18 U.S.C. § 3582(c)(2)

       Upon motion of  the defendant  the Director of the Bureau of Prisons  the court under 18 U.S.C.
§ 3582(c)(2) for a reduction in the term of imprisonment imposed based on a guideline sentencing range that has
subsequently been lowered and made retroactive by the United States Sentencing Commission pursuant to 28 U.S.C.
§ 994(u), and having considered such motion,
IT IS ORDERED that the motion is:
        DENIED.     GRANTED and the defendant’s previously imposed sentence of imprisonment (as reflected in
                    the last judgment issued) of               months is reduced to                            .
I. COURT DETERMINATION OF GUIDELINE RANGE (Prior to Any Departures)
Previous Offense Level:    23               Amended Offense Level:                                         23
Criminal History Category: V                Criminal History Category:                                     V
Previous Guideline Range: 84  to 105 months Amended Guideline Range:                                       84        to 105   months
II. SENTENCE RELATIVE TO AMENDED GUIDELINE RANGE
 The reduced sentence is within the amended guideline range.
 The previous term of imprisonment imposed was less than the guideline range applicable to the defendant at the time
   of sentencing as a result of a departure or Rule 35 reduction, and the reduced sentence is comparably less than the
   amended guideline range.
 Other (explain):   No change since the guideline calculations were controlled by the § 922(g) violation in this case.




III. ADDITIONAL COMMENTS
The defendant is also serving a 60-month consecutive sentence on Count Two for a conviction of 18 U.S.C. § 924(c).




Except as provided above, all provisions of the judgment dated 12/18/2003                         shall remain in effect.
IT IS SO ORDERED.

Order Date:        April 20, 2009


Effective Date:
                     (if different from order date)



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